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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - -x
NIGERIAN AGIP EXPLORATION LIMITED, and
OANDO OML 125 & 134 LIMITED

                         Plaintiff,                   17 Civ.   4483   (LLS)

             - against -                                      ORDER

NIGERIAN NATIONAL PETROLEUM CORPORATION,

                         Defendant.
        - - - - - - - - - - - - - - - - -x
         Until action is taken by the Federal High Court in Nigeria

with respect to an arbitral award that is the subject of this

case,    it cannot proceed.

         Accordingly, by consent this case is placed upon the

Suspense Calendar until the Court is informed that this case is

ready to proceed.

 Dated:       November 19, 2019
              New York, New York



                                                 LOUIS L. STANTON
                                                     U.S.D.J.




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